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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )            8:07CR30
                    Plaintiff,                  )
                                                )
      vs.                                       )        REPORT AND
                                                )
THIRUGNANAM RAMANATHAN,                         )      RECOMMENDATION
                                                )
                    Defendant.                  )


      This matter is before the court on the motion to dismiss filed by defendant
Thirugnanam Ramanathan (Ramanathan) (Filing No. 65). Ramanathan is charged in a
twenty-three count Indictment along with Jaisankar Marimuthu (Marimuthu) and
Chockalingam Ramanathan (C. Ramanathan) with a violation of 18 U.S.C. § 371, a
conspiracy to violate various federal statutes including Fraud in Connection with Computers
(18 U.S.C. § 1030(a)(4)), Securities Fraud (18 U.S.C. § 1348), and Aggravated Identity
Theft (18 U.S.C. § 1028A). Arrest warrants were issued for each of the defendants.
      On January 26, 2007, Ramanathan was arrested in Hong Kong pursuant to a United
States provisional arrest request. The United States requested extradition of Ramanathan
to the United States on the charges set forth in the Indictment, a certified copy of which
accompanied the extradition request. Ramanathan appeared before a Magistrates’ Court
of the Hong Kong Special Administration Region on March 23, 2007, and consented to the
extradition to the United States. On April 30, 2007, pursuant to Section 13(1) of the
Fugitive Offenders Ordinance, Chapter 503, the Honorable Donald Tsang, Chief Executive
of the Hong Kong Special Administrative Region signed an Order For Surrender of
Ramanathan to the United States “in respect of the following offences - (1) offences
involving the unlawful use of computers; and (2) conspiracy to commit offences involving
the unlawful use of computers.” Subsequently, Ramanathan was surrendered to United
States Marshals who transported Ramanathan to the United States where he appeared in
this court on the charges in the Indictment.
      Ramanathan seeks to dismiss Counts 1, 22, and 23 of the Indictment as further
prosecution of those charges are barred by the doctrine of specialty which provides that a
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defendant may be tried only for the offenses for which he was delivered up by the asylum
country. Ramanathan asserts Count I, the 18 U.S.C. § 371 conspiracy count, and Counts
22 and 23, the 18 U.S.C. § 1028A identity theft counts, were not specified in the Order of
Surrender from Hong Kong.
       The court held a hearing on the motion on December 7, 2007. Ramanathan was
present with his counsel, Federal Public Defender David R. Stickman. The United States
was represented by Richard D. Green, Joel M. Swartz and Jackie B. Patrick of the U.S.
Department of Justice and by Assistant U.S. Attorney Michael P. Norris. The court took
judicial notice of the extradition package on file including the Order of Surrender and
received in evidence an affidavit by Lui Zoo Ring Elizabeth Bernice (Exhibit 1). A transcript
of the hearing was prepared and filed on December 19, 2007 (Filing No. 86).
       The doctrine of specialty is a limit on the prosecution of offenses for which a fugitive
can be tried by the receiving state. United States v. Rauscher, 119 U.S. 407, 422-23
(1886). The Eighth Circuit found that the doctrine of specialty “reflects a fundamental
concern of governments that persons who are surrendered should not be subject to
indiscriminate prosecution by the receiving government . . . .” United States v. Thirion,
813 F.2d 146, 153 (8th Cir. 1987), (quoting Fiocconi v. Attorney General, 462 F.2d 475,
481 (2d Cir. 1972)). However, the courts should look to a totality of the circumstances
under which the surrender order was issued in determining whether the doctrine of
specialty has been violated. United States v. Levy, 905 F.2d 326, 329 (10th Cir. 1990);
United States v. Flores, 538 F.2d 939, 945 (2d Cir. 1976). Article 2, Section 3 of the Hong
Kong Extradition Treaty embodies this principle by providing:
              For the purpose of this Article, in determining whether an
              offence is an offence against the law of the requested Party,
              the conduct of the person shall be examined by reference to
              the totality of the acts or omissions alleged against the person
              without reference to the elements of the offence prescribed by
              the law of the requesting Party.
In this case, the Hong Kong authorities had considered the detailed criminal complaint
along with the Indictment against Ramanathan. Ramanathan had consented to the
extradition. Prosecution of Ramanathan on all of the charges in the Indictment would not
constitute an “indiscriminate prosecution by the receiving government.”

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       The Indictment details the scope and means of the conspiracy using computers to
commit the fraud alleged. Those allegations are essentially realleged in all counts. The
Surrender Order specifies offenses involving the use of computers and a conspiracy to
commit those offenses. There is no requirement that the Hong Kong Surrender Order
specify each count of the Indictment. See Levy, 905 F.2d at 328-29. Further, the doctrine
of specialty does not bar the government from proving any of the counts by means of a
Pinkerton theory as claimed by Ramanathan. The doctrine of specialty does not alter
existing rules of evidence or procedure of how the receiving government proves it case.
Thirion, 813 F.2d at 153.
       The court finds the prosecution of Ramanathan on all of the charges for which he
was indicted is not barred by the doctrine of specialty, and his motion to dismiss should be
denied.


       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       Ramanathan’s motion to dismiss (Filing No. 65) be denied.


                                        ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) business days after being served with a
copy of this Report and Recommendation. Failure to timely object may constitute a waiver
of any objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       DATED this 31st day of January, 2008.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge




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